Filed 10/29/15                                      Case 11-30546                             Doc 150



                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF CALIFORNIA
                                             CIVIL MINUTE


           Case Title :   William/Denise Nissen                     Case No : 11-30546-E-13
                                                                    Date :    10/29/15
                                                                    Time :    1:30 p.m.

           Matter :       [128] - Order to Appear

           Judge :            Ronald H. Sargis
           Courtroom Deputy : Janet Larson
           Reporter :         Diamond Reporters
           Department :            E


           APPEARANCES for:
           Movant(s) :

           Respondent(s) :
                 Attorney for the Creditor - Robert Norman
                 Attorney for the Debtors - Lorraine W. Crozier
                 Attorney for the Trustee - Neil Enmark
                 Creditors - Jenna Evans, Gina Feezer, Robert Kaltenbach (by phone)


                                                    CIVIL MINUTE


           Local Rule 9014-1(f)(3) Motion.

           Correct Notice Provided. The Proof of Service states that the Motion
           and supporting pleadings were served on Debtor, Debtor’s Attorney,
           Chapter 13 Trustee, Gina Feezer, Ocwen Loan Servicing LLC, Ocwen
           Financial Corporation, CFBP, Office of the California Attorney
           General, Office of the U.S. Attorney, C. Scott Green, and Office of
           the United States Trustee on September 30, 2015. By the court’s
           calculation, 29 days’ notice was provided.

                The Order to Appear was properly set for hearing on the notice
           required by Local Bankruptcy Rule 9014-1(f)(3). The Debtor,
           Creditors, the Trustee, the U.S. Trustee, and any other parties in
           interest were not required to file a written response or opposition to
           the motion.

           The Order to Appear is and Show Cause is Discharged.
Filed 10/29/15                          Case 11-30546                            Doc 150



                   On September 28, 2015, the court issued an Order to Appear.
           Dckt. 128. In relevant part, the court ordered:

                         Therefore, upon review of the two motions to approve
                 a loan modification between the Debtors and Ocwen Loan
                 Servicing, LLC; no testimony or evidence provided by a
                 managing member or employee of Ocwen Loan Servicing, LLC;
                 Ocwen Financial Corporation having one of its employees
                 provide testimony as to the business operations of an
                 indirect subsidiary; that employee not testifying to any
                 personal knowledge as to the books and records of Ocwen Loan
                 Servicing, LLC (other than repeating what she read in some
                 documents provided to her by an unidentified person or
                 persons); the relative simplicity for an entity to provide
                 bona fide, good faith testimony to authenticate records and
                 document an interest in a promissory note;

                         The hearing on the Motion for Order Approving a Loan
                 Modification filed by the Debtor having come on for hearing
                 on September 22, 2015; counsel or representative for Ocwen
                 Loan Servicing, LLC or Ocwen Financial Corporation not being
                 present; and good cause appearing; and good cause appearing,

                         IT IS ORDERED that (1) a senior management of Ocwen
                 Financial Corporation;(2) a managing member of Ocwen Loan
                 Servicing, LLC; and (3) Gina Feezer, and their respective
                 attorneys of choice, shall appear at the hearing on October
                 29, 2015, at 1:30 p.m., in person, in Department E of the
                 United States Bankruptcy Court, 501 I Street, Sixth Floor,
                 Sacramento, California, with no telephonic appearances
                 allowed on this matter.

                         IT IS FURTHER ORDERED that on or before October 15,
                 2015 each of the persons ordered to appear shall file and
                 serve on all parties served the instant Order to Appear any
                 and all credible, properly authenticated evidence as to:

                         (1) the existence of Ocwen Loan Servicing, LLC;

                      (2) why Ocwen Loan Servicing, LLC has no managing
                      member or employee which could provide the
                      declaration;

                      (3) all of Ms. Feezer’s conduct, actions, and
                      activities by which she has personal knowledge to
                      provide the testimony concerning the books and records
                      of Ocwen Loan Servicing, LLC, and business dealings;
                      and

                      (4) identifying all of the declarations or other
                      testimony Ms. Feezer has provided in other state or
                      federal court proceeding relating to the books,
                      records, notes, business operations of, or loans
                      purported to be owned or serviced by, Ocwen Loan
                      Servicing, LLC since January 1, 2014.
Filed 10/29/15                          Case 11-30546                               Doc 150




                         IT IS FURTHER ORDERED that all of the above
                 responsive pleadings and evidence ordered to be produced
                 shall be filed and served on or before October 15, 2015.

           BACKGROUND

                   On September 22, 2015, the court held a hearing on William
           Nissen and Denise Nissen’s (“Debtor”) Motion for Order Approving a
           Loan Modification. Dckt. 118. The Debtor named Ocwen Loan Servicing,
           LLC as the creditor offering the loan modification.

                   This was not the Debtor’s first attempt at getting court
           approval for a loan modification. On May 30, 2014, the Debtor filed
           their first Motion for Order Approving a Loan Modification, naming
           Ocwen Loan Servicing, LLC as the creditor. Dckt. 46. At the hearing on
           July 1, 2014, the court denied without prejudice the Motion on the
           grounds that the court could not determine by the evidence presented
           if Ocwen Loan Servicing, LLC is the creditor in fact who has the
           authority to enter into loan modifications with the Debtor or merely
           the loan servicer. Specifically, the court stated:

                         The Loan Modification Agreement identifies Ocwen
                 Loan Servicing, LLC as the entity offering the loan
                 modification and does not indicate that it is the actual
                 creditor to enter into a contract to modify the Loan. The
                 Loan Modification Agreement does not state that it is a
                 contract or agreement between Ocwen Loan Servicing, LLC and
                 the Debtors, but only uses the non-specific language, “Ocwen
                 Loan Servicing, LLC (‘Ocwen’) is offering you this Loan
                 Modification Agreement....”

                         Interestingly, Ocwen Loan Servicing, LLC is not a
                 party to sign this Loan Modification Agreement. The
                 signature block for the other party to the Loan Modification
                 Agreement provides that it is signed by “Mortgage Electronic
                 Registration Systems, Inc. [“MERS”] – Nominee for Service.”
                 This is problematic for several reasons. . . .

                         In this case, Proof of Claim No. 10 was filed for
                 OneWest Bank, FSB. The claim is for $252,871.45 and is
                 asserted to be secured by the Debtors’ property at 8609 El
                 Sobrante Way, Orangevale, California. The person filing the
                 proof of claim for OneWest Bank, FSB, is identified as “Ryan
                 M. Davies, Claimant’s Counsel.” [Payments] on the claim are
                 to be sent to “OneWest Bank, FSB 00 Cashiering Dept., 6900
                 Beatrice Drive, Kalamazoo, MI.”

                         The Loan Modification Agreement does not
                 specifically identify the Note that is being modified, but
                 does state that the principal balance is $246,092.03. It
                 appears that this the same debt as the one upon which Proof
                 of Claim No. 10 is based. . . .

                         On October 15, 2013, a Transfer of Claim was filed
Filed 10/29/15                          Case 11-30546                              Doc 150



                 for Proof of Claim No. 10. Dckt. 37. The Transferee is
                 identified as Ocwen Loan Servicing, LLC and the Transferor
                 is identified as OneWest Bank, FSB. The person signing the
                 Transfer document is “Nancy Lee, Esq.,” who is identified as
                 the Transferee’s Agent. This document directs that payments
                 on the claim are to be sent to Attn: Payment Processing,
                 3451 Hammond Avenue, Waterloo, IA 50702. No documents, such
                 as an assignment of the Note, assignment of the claim, copy
                 of note endorsed in blank and certification that it is in
                 the possession of the Transferee is attached to the this
                 document.

                         As this court has stated on many occasions, the
                 fundamental requirement for any federal court to exercise
                 federal court judicial power is that there must be a case or
                 controversy between the parties for whom relief is sought.
                 U.S. Constitution Article III, Sec. 2. Here, there is
                 nothing to indicate that there are two real parties in
                 interest whose rights are being impacted. While the Debtors
                 are before the court, it appears that at best a servicing
                 company, for an unidentified creditor in this case, is being
                 inserted into the Loan Modification Agreement as a
                 “placeholder,” who may or may not be authorized to modify
                 the creditor’s rights and claim.

                         This court will not issue “maybe effective, maybe
                 not effective” orders. The residential mortgage market has
                 already suffered serious black eyes from incorrectly
                 identified lenders, transferees, nominees, robo-signing of
                 declarations and providing false testimony under penalty of
                 perjury, and documents which do not truthfully and
                 accurately identify the parties to the transaction. It is
                 not too much for least sophisticated consumer debtors to
                 have the true party with whom they are purportedly
                 contracting identified in the written contract. It is not
                 too much, and is Constitutionally mandated, that the true
                 parties appear in federal court to have their rights and
                 interests determined, and the relief they seek issued.

                         If Ocwen Loan Servicing, LLC is the loan servicer
                 for the actual creditor and is the authorized agent for the
                 creditor, then it can properly exercise that power. In
                 doing so, it can properly disclose the identity of the true
                 creditor, disclose that it is exercising its agent
                 authority, and execute the documents (rather than MERS) as
                 the agent for the true creditor.

           Dckt. 62.

                   Over a year later, on August 20, 2015, the Debtor filed
           another Motion for Order Approving a Loan Modification, once again
           naming Ocwen Loan Servicing, LLC as the creditor. Dckt. 118. However,
           the Debtor provided the declaration of Gina Feezer “a senior loan
           analyst employed by Ocwen Financial Corporation, whose indirect
           subsidiary is Ocwen Loan Servicing, LLC.” Dckt. 118.
Filed 10/29/15                          Case 11-30546                           Doc 150



                   At the September 22, 2015 hearing, the court expressed its
           concerns over the representations made by Ms. Feezer in her
           declaration. Specifically, the court stated:

                        The exhibits and declaration of Ms. Feezer just
                 further highlights the confusion in the Fannie Mae Servicing
                 Guide. Ms. Feezer’s declaration appears to suggest that
                 Ocwen is both the servicer of a loan held by Fannie Mae and
                 also the holder of the underlying note which was transferred
                 to it by One West Bank, FSB. However, none of the exhibits
                 provided by the Debtor show any such transfer or a copy of
                 the current Deed of Trust and Note denoting who is the
                 actual lender. The Feezer declaration offers conflicting
                 testimony that pursuant to the Servicing Guide it is the
                 “holder” of the Note, but that the note has also been
                 directly transferred from One West to Ocwen Loan Servicing,
                 LLC.

                        The Declaration provided by Gina Feezer raises
                 significant doubts as to whether an entity identified as
                 Ocwen Loan Servicing, LLC actually exists. Ms. Feezer
                 states that she is a “senior loan analysis” who is “employed
                 by Ocwen Financial Corporation,” which has an “indirect
                 subsidiary [named] Ocwen Loan Servicing, LLC.” Ms. Feezer
                 provides no testimony as to what is this “indirect
                 subsidiary” relationship.

                        More significantly, while Ms. Feezer provides her
                 legal conclusion that she is “authorized” to provide
                 testimony as to the books and records of the “indirect
                 subsidiary” of the company which employs her, she does not
                 testify to any actual factual basis for the court reaching
                 the same conclusion. She also fails to provide any
                 testimony why Ocwen Loan Servicing, LLC has no managing
                 members or employees who can provide accurate, credible,
                 competent testimony concerning the operation of Ocwen Loan
                 Servicing, LLC. Ms. Feezer’s lack of testimony is pregnant
                 with admissions that Ocwen Loan Servicing, LLC may well not
                 exist as a bona fide, viable, entity which is a proper party
                 in a federal court.

                        Further, Ms. Feezer testifies that at best, she has
                 no personal knowledge of any facts concerning Ocwen Loan
                 Servicing, LLC, but is merely stating what she has read from
                 some records which she believes (for an unstated reason) are
                 those of Ocwen Loan Servicing, LLC. She does not provide
                 any information about how such records are maintained, under
                 whose control and supervision the records are made and
                 maintained, or why she has access to any such records. She
                 again merely provides a legal conclusion that as an employee
                 of Ocwen Financial Corporation, the records of an indirect
                 subsidiary (for which she is not an managing member,
                 employee, or representative) are maintained in the ordinary
                 course of business. FN.1
Filed 10/29/15                             Case 11-30546                              Doc 150



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                    FN.1. Ms. Feezer’s testimony would be akin to an employee
                    of Bank of America Corporation testifying about the records
                    of BAC Loans Servicing, LP concerning the loans originated
                    and maintained by Countrywide Loan Servicing, LP. A
                    shareholder of an entity, which has an interest in an entity
                    that has an interest in another, indirect subsidiary entity
                    that has records, is not made a competent, credible witness
                    concerning the business, operations, and records of the
                    indirect subsidiary merely because the person is employed by
                    a shareholder of an entity that has an interest in an entity
                    that has an interest in the indirect subsidiary.
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           Dckt. 125

                   In light of this being the Debtor’s second attempt at court
           approval for loan modification, the court granted the authorization to
           enter the modification, but emphasized that the court is doing so
           “based in large part of the personal testimony of Gina Feezer. The
           court, Debtor, and bankruptcy estate have justifiably relied upon the
           statements of fact provided by Ms. Feezer, individually and in her
           capacity as an employee of Ocwen Financial Corporation and in
           providing the testimony purportedly for Ocwen Loan Servicing.” Dckt.
           125.

                   While the instant issue concerning the modification has been
           resolved, there remains the fundamental and overarching concern over
           the representations made by Ocwen Loan Servicing, LLC and Ocwen
           Financial Corporation to these consumers over their role in the loans
           they, collectively and individually, purport to both service and hold.

                   Repeatedly, in a number of cases, the court has expressed its
           concern over the representations of Ocwen Loan Servicing, LLC, and
           Ocwen Financial Corporation, which asserts that an indirect subsidiary
           relationship to Ocwen Loan Servicing, LLC. In light of the
           representations made by Ms. Feezer as to the role of Ocwen Loan
           Servicing, LLC and Ocwen Financial Corporation, it is apparent that
           the court needs to order the appearance of these entities.

                 OCWEN FINANCIAL CORPORATION AND OCWEN LOAN SERVICING, LLC RESPONSE

                   Ocwen Financial Corporation and Ocwen Loan Servicing, LLC
           filed a response to this court’s Order to Appear on October 15, 2015.
           Dckt. 134. Both entities (collectively referred to as “Respondents”)
           are represented by Robert Norman, Jr., an attorney at Houser & Alison,
           APC.

                   Respondents address this court’s September 28, 2015 Order to
           Appear by first explaining the relationship of Ocwen Loan Servicing,
           LLC and Ocwen Financial Corporation, then by describing Gina Feezer’s
           authority to act on behalf of Ocwen Loan Servicing, LLC.

           Relationship of Ocwen Financial Corporation and Ocwen Loan Servicing,
           LLC
Filed 10/29/15                          Case 11-30546                               Doc 150



                   Respondents assert that Ocwen Financial Corporation is a
           Florida corporation organized in February 1988, and headquarters in
           West Palm Beach, Florida. It is publicly traded on the New York Stock
           Exchange under the stock ticker symbol OCN, and is registered with the
           SEC. Ocwen Financial Corporation is a financial services holding
           company which is engaged in the servicing and origination of mortgage
           loans. It conducts these services through its subsidiaries. A
           Certificate of Good Standing for Ocwen Financial Corporation is
           offered as Exhibit 3.

                   Ocwen Loan Servicing, LLC is organized and existing Delaware
           limited liability company. A Certificate of Good Standing for Ocwen
           Loan Servicing, LLC is attached as Exhibit 4. FN.1.

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           FN.1. Respondents fail to assert the evidentiary basis for admitting
           Exhibits 3 and 4. Respondents neither assert grounds for
           authentication nor for a hearsay exception in their memorandum or in
           Feezer’s Declaration. Respondents suggest that the documents were
           obtained from an unnamed, ambiguously identified “Company’s Office of
           the Corporate Secretary.” Dckt. 135 ¶ 4. According to the Feezer
           Declaration, “Company” refers to Ocwen Financial Corporation, Ocwen
           Loan Servicing, LLC, and Ocwen Loan Servicing, LLC’s managing member,
           Ocwen Mortgage Servicing, Inc. Id.; Dckt. 135 ¶ 4. It appears that
           the witness, and the entities, make little effort to make any legal or
           functional distinction between Ocwen Financial Corporation and Ocwen
           Loan Servicing, LLC.
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                   Ocwen Financial Corporation owns the common stock of its
           primary operating subsidiary, Ocwen Mortgage Servicing, Inc. and
           “directly or indirectly owns all of the outstanding stock of its other
           primary operating subsidiaries, including [Ocwen Loan Servicing,
           LLC].” Dckt. 134 p. 4. There is no single “individual} that is the
           managing member of Ocwen Loan Servicing, LLC. Since 2012, Ocwen Loan
           Servicing, LLC has been a wholly owned subsidiary of Ocwen Mortgage
           Servicing, Inc.

                   In the declaration of Ms. Feezer, based on her meeting with
           the “corporate secretary” of Ocwen Financial Corporation, Ocwen
           Mortgage Servicing, Inc., and Ocwen Loan Servicing, LLC, testifies
           that Ocwen Mortgage Servicing, Inc. is now the single member of Ocwen
           Loan Servicing, LLC.

                   In the Response, in lieu of having a managing member of Ocwen
           Loan Servicing, LLC, a “Board of Managers” [whose identity is not
           disclosed] manages Ocwen Loan Servicing, LLC. Further, the employees
           of Ocwen Financial Corporation primarily handle the day to day affairs
           of Ocwen Loan Servicing. Response, p. 2:15-21.

                   Ocwen Financial Corporation, through its “subsidiaries,”
           including Ocwen Loan Servicing, LLC, performs primary and master
           servicer activities for investors and other loan servicers, including:
Filed 10/29/15                          Case 11-30546                               Doc 150



           Federal National mortgage Association (Fannie Mae); Federal Home Loan
           Mortgage Corporation (Freddie Mac); the Government National mortgage
           Association (Ginnie Mae); and private-label securitizations.

           Gina Feezer’s Authority to Act on Behalf of Ocwen Loan Servicing, LLC

                   Respondents summarize Gina Feezer’s employment through 10
           years of employment. Ms. Feezer was employed by Ocwen Federal Bank FSB
           in October 2004. Dckt. 135 ¶ 5. Ocwen Financial Bank, FSB performed
           “similar functions as [Ocwen Loan Servicing, LLC].” Id. Ocwen Loan
           Servicing, LLC then became the successor in interest to Ocwen
           Financial Bank, FSB in June 2005. Ms. Feezer’s employment status
           transitioned to Ocwen Loan Servicing, LLC. Ms. Feezer remained
           employed with Ocwen Loan Servicing, LLC until October 4, 2012, when
           her employment “transitioned to [Ocwen Financial Corporation],” the
           ultimate parent company of Ocwen Loan Servicing, LLC. Id. Respondents
           claim Ms. Feezer was “authorized to act for [Ocwen Loan Servicing,
           LLC] at all times relevant through [Ocwen Loan Servicing, LLC]’s
           Written Consent and Company Resolution.” Id., ¶ 10.

                   Ms. Feezer claims to have worked as a bankruptcy manager
           position from October 2004 to May 2006. In May 2006, Ms. Feezer
           transitioned to her current role as a Senior Loan Analyst at Ocwen
           Loan Servicing, LLC. Id., ¶ 6, 7. In her position as a Senior Loan
           Analyst, Ms. Feezer conducts “careful research of litigated and other
           disputed matters being handled by the Company.” FN.2. This includes
           loan setup, investor relations, customer service, default servicing,
           bankruptcy, and outside counsel to review the “Company’s business and
           loan records, practices, and general handling of various loans and
           properties.” Occasionally, Ms. Feezer reviewed and verified litigation
           documents, such as discovery responses, declarations, affidavits, and
           also testified “for the Company at depositions and in court.”

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           FN.2. Feezer’s Declaration and Respondents’ Motion refer to Ocwen
           Financial Corporation, Ocwen Mortgage Servicing, Inc., and Ocwen Loan
           Servicing, LLC collectively as “the Company.” This court only quotes
           that term to emphasize the vagueness in the documents filed and the
           lack of separateness of these entities as stated by these entities and
           the employees.
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                   In the underlying bankruptcy case, Ms. Feezer reviewed “the
           records that pertain to the Debtors...and that she gained knowledge of
           them from the business records of [Ocwen Loan Servicing, LLC] through
           its computerized systems which has the Debtors’ loan servicing
           history, transaction history, internal comment log between the
           departments and electronic imaging of the loan files.” Id., ¶ 9.

           GINA FEEZER’S DECLARATION

                   Accompanying Respondent’s response is Ms. Feezer’s
           declaration. Dckt. 135.
Filed 10/29/15                          Case 11-30546                               Doc 150



                   When discussing the corporate structure of the entities, Ms.
           Feezer provides the following explanation, without any supportive
           documentation:

                 I have also conferred with the Company’s Office of the
                 Corporate Secretary (“Corporate Secretary”) to confirm my
                 understanding of the corporate formation and the distinction
                 among Ocwen Financial Corporation (“OFC”), the parent
                 company, and its subsidiaries, including [Ocwen Loan
                 Servicing, LLC], and its managing member, Ocwen Mortgage
                 Servicing, Inc. (“OMS”) (collectively the “Company”).

           Dckt. 135, ¶ 4.

                   Ms. Feezer states that in October 2004, she was employed by
           Ocwen Financial Bank, FSB, which Ms. Feezer testifies performed
           similar functions as Ocwen Loan Servicing, LLC. Ms. Feezer states that
           Ocwen Loan Servicing, LLC then became the successor in interest to
           Ocwen Financial Bank, FSB in June 2005, which resulted in Ms. Feezer’s
           employment being transitioned to Ocwen Loan Servicing, LLC. Ms. Feezer
           remained employed with Ocwen Loan Servicing, LLC until October 4, 2012
           at which time her employment transitioned to Ocwen Financial
           Corporation where Ms. Feezer is currently employed.

                   Ms. Feezer states that in her ten years employed by Ocwen
           Financial Bank, FSB, Ocwen Loan Servicing, LLC, and currently Ocwen
           Financial Corporation, she is “familiar with the business records
           maintained by [Ocwen Loan Servicing, LLC] for the purpose of handling
           mortgage loans.” Dckt. 135, ¶ 6.

                   While Ms. Feezer stated that she was currently employed by
           Ocwen Financial Corporation, Ms. Feezer later states that in May 2006,
           she transitioned to her current role as a Senior Loan Analyst at Ocwen
           Loan Servicing, LLC. Compare Dckt. 135, ¶ 5 with ¶ 7. In this
           position, Ms. Feezer testifies that her job duties include:

                 ...conducting careful research of litigated and other
                 disputed matters being handled by the Company. This includes
                 [her] continued working with the Company’s various
                 departments, including loan setup, investor relations,
                 customer service, default servicing, bankruptcy, and outside
                 counsel to review the Company’s business and loan records,
                 practices, and general handling of various loans and
                 properties. From time to time, [Ms. Feezer] review and
                 verify discovery responses, prepare declarations and
                 affidavits, and testify for the Company at depositions and
                 in the court.

           Dckt. 135, ¶ 7.

                   Ms. Feezer than continues in the declaration to then state she
           is “employed by [Ocwen Financial Corporation], the ultimate parent
           company of [Ocwen Loan Servicing, LLC]” and is “authorized to act for
           [Ocwen Loan Servicing, LLC].” To support this, Ms. Feezer identifies
           Exhibit 1 which is a Unanimous Written Consent of the Managers of
Filed 10/29/15                          Case 11-30546                               Doc 150



           Ocwen Loan Servicing, LLC which Ms. Feezer testifies is dated November
           10, 2014. Exhibit 1 was filed under seal.

                   Reviewing Exhibit 1, the court first notes that the Unanimous
           Written Consent of the Managers of Ocwen Loan Servicing, LLC is dated
           October 7, 2015, and not November 10, 2014 as stated by Ms. Feezer
           under penalty of perjury. Without disclosing the substance, Exhibit 1
           is highly redacted and does not specify that Ms. Feezer, in fact, had
           any authority to act on behalf of Ocwen Loan Servicing, LLC or access
           to the business records of Ocwen Loan Servicing, LLC. To the extent
           that her name is actually in the document, it has been redacted, for
           which reason the court cannot fathom. FN.3.
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           FN.3. The redacting of such non-confidential, critical information
           only works to diminish the credibility of Ocwen Financial Corporation,
           Ocwen Loan Servicing, LLC (to the extent it exists) and the witnesses
           and counsel who are presenting the arguments and evidence to the
           court.
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                   The Consent does not identify any specific person to have the
           authority to act on behalf of Ocwen Loan Servicing, LLC or which
           entity such person works for. Instead, the Consent merely states
           “Senior Loan Analyst.”

                   Ms. Feezer also states that the Ocwen Loan Servicing, LLC
           Certificate of Secretary, filed under seal as Exhibit 2, also provides
           for the authority of Ms. Feezer to act on behalf of Ocwen Loan
           Servicing, LLC. Exhibit 2 is also heavily redacted. This document
           appears to authorize the non-Ocwen Loan Servicing, LLC to perform
           almost every function of Ocwen Loan Servicing, LLC. Ms. Feezer
           identifies her name as being include on the list the non-Ocwen Loan
           Servicing, LLC employees authorized to exercise the rights and powers
           of Ocwen Loan Servicing, LLC.

                   Ms. Feezer continues and testifies that based on her meeting
           with the Corporate Secretary, Ms. Feezer understands that “[Ocwen
           Financial Corporation] owns the common stock of its primary operating
           subsidiary, [Ocwen Mortgage Servicing, Inc.] and directly or
           indirectly owns the outstanding stock of its other primary operating
           subsidiaries, including [Ocwen Loan Servicing, LLC.]” Dckt. 135, ¶ 12.

                   Based on the meeting with the Corporate Secretary and her
           understanding of the “Company,” Ms. Feezer testifies that:

                 [T]here is no single individual that is the managing member
                 of [Ocwen Loan Servicing, LLC]. [Ocwen Financial
                 Corporation] was the sole member of [Ocwen Loan Servicing,
                 LLC]. Since 2012, [Ocwen Loan Servicing, LLC] has been a
                 whole owned subsidiary of ([Ocwen Mortgage Servicing,
                 Inc.]). [Ocwen Mortgage Servicing, Inc.] is now a wholly
                 owned subsidiary of [Ocwen Financial Corporation]. [Ocwen
                 Mortgage Servicing, Inc.] is now the sole member of [Ocwen
                 Loan Servicing, LLC].
Filed 10/29/15                          Case 11-30546                               Doc 150



           Dckt. 135, ¶ 13.

                   Ms. Feezer concludes by stating that filed as Exhibit 5 under
           seal is a list of all the declaration and other testimonies that she
           can recall which Ms. Feezer has provided in state or federal court
           proceedings relating the books, records, notes, and business
           operations of Ocwen Loan Servicing, LLC.

           APPLICABLE LAW

                   The court has been concerned with loan servicing companies
           which misrepresent themselves as creditors, as it has been with
           debtors who incorrectly identify (and seek relief against) loan
           servicing companies which are not the creditor. Hearing the
           explanations offered as to who Ocwen Loan Servicing, LLC is, the court
           feels compelled to review basic law relating to the doctrine of alter
           ego. When discussing interrelated corporate structures, the doctrine
           of alter ego or piercing the corporate veil “refers to situations
           where there has been an abuse of corporate privilege, because of which
           the equitable owner of a corporation will be held liable for the
           actions of the corporation.” Roman Catholic Archbishop of San
           Francisco v. Superior Court, 15 Cal.App.3d 405, 411, 93 Cal.Rptr. 338
           (1971). The purpose of the doctrine is “to bypass the corporate entity
           for the sole purpose of avoiding injustice.” Mesler v. Bragg
           Management Co., 39 Cal.3d 290, 301 (1985).

                   Courts in this district has provided the following test to
           determine if one corporation is the alter ego of another:

                 To establish that one entity is the alter ego of another, a
                 plaintiff must show “(1) that there [is] such unity of
                 interest and ownership that the separate personalities of
                 the corporation and the individual no longer exist and (2)
                 that, if the acts are treated as those of the corporation
                 alone, an inequitable result will follow.” Id.; In re
                 Intelligent Direct Marketing, 818 B.R. 579, 588 (E.D. Cal.
                 2014). Sister entities may be determined to be alter egos if
                 the entities are so organized or controlled as to make one
                 entity “merely an instrumentality, agency, conduit or
                 adjunct of another.” McLoughlin v. L. Bloom Sons Co., Inc.,
                 206 Cal.App.2d 848, 851–52, 24 Cal.Rptr. 311 (1962).

           In re SK Foods, LP, 499 B.R. 809, 840-41 (Bankr. E.D. Cal. 2013).

                   To determine whether there is a sufficient unity of interest
           and ownership to support alter ego liability, courts consider a long
           list of factors:

                 [1] Commingling of funds and other assets, failure to
                 segregate funds of the separate entities, and the
                 unauthorized diversion of corporate funds or assets to other
                 than corporate uses;

                 [2] the treatment by an individual of the assets of the
                 corporation as his own;
Filed 10/29/15                          Case 11-30546                           Doc 150



                 [3] the failure to obtain authority to issue stock or to
                 subscribe to or issue the same;

                 [4] the holding out by an individual that he is personally
                 liable for the debts of the corporation;

                 [5] the failure to maintain minutes or adequate corporate
                 records, and the confusion of the records of the separate
                 entities;

                 [6] the identical equitable ownership in the two entities;

                 [7] the identification of the equitable owners thereof with
                 the domination and control of the two entities;

                 [8] identification of the directors and officers of the two
                 entities in the responsible supervision and management;

                 [9] sole ownership of all of the stock in a corporation by
                 one individual or the members of a family;

                 [10] the use of the same office or business location;

                 [11] the employment of the same employees and/or attorney;

                 [12] the failure to adequately capitalize a corporation;

                 [13] the total absence of corporate assets, and
                 undercapitalization;

                 [14] the use of a corporation as a mere shell,
                 instrumentality or conduit for a single venture or the
                 business of an individual or another corporation;

                 [15] the concealment and misrepresentation of the identity
                 of the responsible ownership, management and financial
                 interest, or concealment of personal business activities;

                 [16] the disregard of legal formalities and the failure to
                 maintain arm's length relationships among related entities;

                 [17] the use of the corporate entity to procure labor,
                 services or merchandise for another person or entity;

                 [18] the diversion of assets from a corporation by or to a
                 stockholder or other person or entity, to the detriment of
                 creditors, or the manipulation of assets and liabilities
                 between entities so as to concentrate the assets in one and
                 the liabilities in another;

                 [19] the contracting with another with intent to avoid
                 performance by use of a corporate entity as a shield against
                 personal liability, or the use of a corporation as a
                 subterfuge of illegal transactions;
Filed 10/29/15                           Case 11-30546                               Doc 150



                 [20] and the formation and use of a corporation to transfer
                 to it the existing liability of another person or entity.

           Bank of Montreal v. SK Foods, LLC, 476 B.R. 588, 597-98 (N.D. Cal.
           2012); Roman Catholic Archbishop, 15 Cal.App.3d at 411, 93 Cal.Rptr.
           338 (citing Associated Vendors, Inc. v. Oakland Meat Co., 210
           Cal.App.2d 825, 837, 26 Cal.Rptr. 806 (1962)); Zoran Corp. v. Chen,
           185 Cal.App.4th 799, 811–12 (Cal.Ct.App.2010). This list is not
           exhaustive, and no one factor is determinative. Zoran Corp., 185
           Cal.App.4th at 811–12.

                   The second requirement of the alter ego test requires that
           “adherence to the fiction of the separate existence of the corporation
           would, under the particular circumstances, sanction a fraud” or “work
           an injustice to a third person.” Bank of Montreal, 476 B.R. at 600
           (citing Associated Vendors Inc. v. Oakland Meat Co., 210 Cal.App.2d
           825, 837, 26 Cal.Rptr. 806 (Cal.Ct.App.1962))(quotation omitted).

           DISCUSSION

                   After reviewing the response, Ms. Feezer’s declaration, and
           the accompanying exhibits, the court is concerned that the evidence
           provided shows that Ocwen Loan Servicing, LLC is an “entity” in name
           only. Rather, it may well be that Ocwen Financial Corporation, using
           the names Ocwen Mortgage Servicing, Inc. and Ocwen Loan Servicing, LLC
           is really just one big entity, hiding behind the name Ocwen Loan
           Servicing, LLC. Hiding behind the name may be part of a coordinated
           efforts with its attorneys to erect a facade to hide it from the court
           and insulate it from financial liability for its conduct from
           consumers and the courts. This may explain why “Ocwen Loan Servicing,
           LLC” failed to respond to several discovery subpoenas in other
           unrelated cases or respond to motions to compel and for sanctions.

                   Within its own supporting documents, Ocwen Loan Servicing, LLC
           and Ocwen Financial Corporation confuse themselves. For instance, Ms.
           Feezer, in her five-page declaration, switches from being an employee
           of one entity to the other. The following are direct quotes from Ms.
           Feezer’s declaration as to where she is currently employed:

                   1.   “As a result, in June 2005, my employment transitioned to
                        [Ocwen Loan Servicing, LLC]. I remained employed with
                        [Ocwen Loan Servicing, LLC] until October 4, 2012. At that
                        time, my employment transitioned to [Ocwen Financial
                        Corporation] to the present time.”

                        a.   Dckt. 135, ¶ 5.

                   2.   “During my more than 10 years employment with [Ocwen
                        Federal Bank FSB], [Ocwen Loan Servicing, LLC], and now
                        [Ocwen Financial Corporation], I have closely interacted
                        with the Company’s numerous departments on a daily basis,
                        including the bankruptcy department.”

                        a.   Dckt. 135, ¶ 6
Filed 10/29/15                           Case 11-30546                              Doc 150



                   3.   “In May 2006, I transitioned to my current role as a
                        Senior Loan Analyst at [Ocwen Loan Servicing, LLC]. As a
                        Senior Loan Analyst, I perform a number of roles within
                        [Ocwen Loan Servicing, LLC]’s Law Department.”

                        a.   Dckt. 135, ¶ 7.

                   4.   “Even though I am employed by [Ocwen Financial
                        Corporation], the ultimate parent company of [Ocwen Loan
                        Servicing, LLC], I am authorized to act for [Ocwen Loan
                        Servicing, LLC].”

                        a.   Dckt. 135, ¶ 10.

                   The conflating of the entities is just further highlighted in
           the exhibits filed by the parties. The Unanimous Written Consent of
           the Managers of Ocwen Loan Servicing, LLC, dated October 7, 2015 (not
           November 10, 2014 as purported by Ms. Feezer)indicates that “Senior
           Loan Analyst” at an unspecified entity may act on behalf of Ocwen Loan
           Servicing, LLC (defined in the Consent as the “Company”). The Consent
           does not state where this “Senior Loan Analyst” works, which may be
           specified in the redacted portion of the consent.

                   The Ocwen Loan Servicing, LLC Certificate of Secretary does
           not provide any clarification either. In fact, the Certificate
           explicitly identifies Ms. Feezer as an employee of Ocwen Loan
           Servicing, LLC. While this Certificate is dated December 21, 2011,
           which is during a time Ms. Feezer declares she was an employee of
           Ocwen Loan Servicing, LLC, it does not state that Ms. Feezer, now an
           employee of Ocwen Financial Corporation, (presumably, at least), has
           the authority to act on behalf of Ocwen Loan Servicing, LLC.

                   Looking at the way in which the “entities” filed their
           combined Response appears to convolute the discussion by using
           acronyms and defined terms which do not clearly distinguish between
           actual separate legal entities. This is evident by the first line of
           the parties’ response which states:

                 Houser & Allison, APC, on behalf of Ocwen Loan Servicing,
                 LLC (“OLS”), and Ocwen Financial Corporation (“OFC”) (OLS
                 and OFC are collectively referred to as “Ocwen” herein).

           Dckt. 134. Such a collective defined term as “Ocwen” to include both
           Ocwen Loan Servicing, LLC and Ocwen Financial Corporation appears to
           be an affirmative statement that the two entities are functionally
           nothing more but a single entity or enterprise. The court finds it
           surprising that counsel would not clearly distinguish between two
           separate legal entities, if they were two separate legal entities.

                   Looking further at the response, the responding entities
           appear to further “muck the waters” by using nearly identical acronyms
           (i.e. OFC, OLS, OMS) to what the court interprets as an attempt to
           give the appearance of corporate separation without there in fact
           being one.
Filed 10/29/15                          Case 11-30546                               Doc 150



                   Ms. Feezer’s declaration does the same by providing a single
           defined term for all of the allegedly separate entities. Ms Feezer
           states:

                 I have also conferred with the Company’s Office of the
                 Corporate Secretary (“Corporate Secretary”) to confirm my
                 understanding of the corporate formation and the distinction
                 among Ocwen Financial Corporation (“OFC”), the parent
                 company, and its subsidiaries, including [Ocwen Loan
                 Servicing, LLC], and its managing member, Ocwen Mortgage
                 Servicing, Inc. (“OMS”)(collectively the “Company”).

           Dckt. 135, ¶ 4. Based on the declaration, and the defined term
           “Company” to include all three entities, Ms. Feezer declares under the
           penalty of perjury that all three of the Ocwen entities share a single
           Corporate Secretary.

                   In total, the purported distinction between Ocwen Mortgage
           Servicing, Inc., Ocwen Loan Servicing, LLC, and Ocwen Financial
           Corporation appears to be nothing more than a canard created by the
           single Ocwen “Company” in an attempt to avoid liability. Ms. Feezer
           could not even correctly state which entity employs her, which just
           further emphasizes that these entities are all one in the same.

           OCTOBER 27, 2015 HEARING

                   At the hearing, the court accepted further testimony from Ms.
           Feezer and was provided unredacted copies of the redacted documents
           filed with the court. With respect to the redacted documents, as
           stated on the record that it continues to have concerns that the
           redactions done to the documents by Ocwen Loan Servicing, LLC and
           Ocwen Financial Corporation were excessive and not done for
           legitimate, legally sufficient purposes. The redactions deleted
           information about the scope of the authorizations for employees of
           other entities to act for Ocwen Loan Servicing, LLC. Additionally,
           the specific paragraph, including the heading, which related to
           bankruptcy court proceedings had been redacted.

                   The response provided by Ocwen Financial Corporation and Ocwen
           Loan Servicing, LLC (to the extent that it actually exists as a real,
           separate entity) is that it/they were relying on the general language
           of the authorization rather than the specific language relating to
           proceedings in bankruptcy court. The court did not find this
           contention that the general language of the documents controlled over
           the specific language.

                   Ms. Feezer’s testimony was a mixed bag. While stating that
           she has many years of experience, beginning with the former Ocwen
           Bank, FSB, then to Ocwen Loan Servicing, LLC when the Bank’s assets
           were transferred to it, and ultimately to her current employment with
           Ocwen Loan Servicing, LLC, her testimony could not clearly distinguish
           between there being three currently separate entities engaging in
           business. Ms. Feezer testified that she currently is employed in the
           “legal department,” but could not testify if it was the legal
           department for Ocwen Loan Servicing, LLC; Ocwen Mortgage Servicing,
Filed 10/29/15                          Case 11-30546                               Doc 150



           Inc.; or Ocwen Financial Corporation. She further stated that even
           though her employment has moved through to Ocwen Financial
           Corporation, nothing has really changed in how she does business.

                   Ms. Feezer’s testimony is that she spends substantial time in
           working with the in-house legal department and outside counsel.
           Little if any testimony was provided as to Ms. Feezer being involved
           in the loan servicing purported to being done by Ocwen Loan Servicing,
           LLC. Redacted Exhibit 5, the unredacted version of which is filed
           with the court, is a list of the legal proceedings in which Ms. Feezer
           provide testimony, declarations, or affidavits (collectively
           “Testimony”). (The court questioned, and was not satisfied with, the
           explanation from counsel why such public information needed to be
           filed under seal.) For 2014, Ms. Feezer provided such Testimony in
           101 separate bankruptcy and non-bankruptcy cases. In the first ten
           month of 2015, Ms. Feezer provided such Testimony in 70 cases. Based
           on Ms. Feezer’s testimony, it appears that her employments consists of
           being a witness to provide such Testimony, and not to be involved in
           the business operations of Ocwen Loan Servicing, LLC.

                   The court also noted that both Ms. Feezer’s declaration and
           the Response filed by counsel for the Ocwen entities uses curious
           language concerning the entities. First, the Response and declaration
           create a group definition that has the purported three separate
           entities referred to as “Ocwen” for these business activities. The
           Response also affirmative states, “[Ocwen Financial Corporation] is a
           financial services holding company which, through it s subsidiaries,
           originates and services loans.” While this could be read to actually
           states, “Ocwen Financial Corporation is a financial services company
           that owns separate entities which originate and service loans,” the
           court is not so presumptuous to rewrite what counsel has written for
           Ocwen Financial Corporation.

                   The court also noted the consent judgment agreed to by Ocwen
           Financial Corporation in Consumer Financial Protection Bureau et al.
           v. Ocwen Financial Corporation and Ocwen Loan Servicing, LLC., D.C.
           Dist. Case No. 13-2025, Dckt. 12. In that consent judgment, Ocwen Loan
           Servicing, LLC and Ocwen Financial Corporation agreed jointly to the
           $127.3 million to be paid into account for payments to borrowers.
           Further, that both Ocwen Loan Servicing, LLC and Ocwen Financial
           Corporation agreed to provide complete and accurate data concerning
           borrowers. Ocwen Financial Corporation and Ocwen Loan Servicing, LLC
           agreed and so jointly defined themselves to be “Ocwen” for purposes of
           the consent judgement.

                   As discussed at the hearing, sophisticated, publically traded
           holding companies are very careful to distinguish between the holding
           company and operating subsidiaries. The court pointed to several
           examples in which such entities would not state that the holding
           company engages in actual banking business and then in the specific
           servicing or other business practices of the separate subsidiaries of
           the banking entity. The court was not presented with what the court
           found to be a credible information for the conflating of the “Ocwen
           Entities” if there were actually three separate entities.
Filed 10/29/15                          Case 11-30546                               Doc 150



                    It appears that the continuing confusion as to who and what
           “Ocwen” is based evidence and arguments presented may well arise from
           sloppy business practices rather than a malevolent scheme to mislead
           the court and consumers. As seem with the misuse of MERS, robo-
           signing, and the failure to identify real party in interest creditor
           (rather than a placeholder loan servicing company), business practices
           to cut expenses (as demanded by creditors) may drive short-cutting the
           law. Outside counsel, in-house counsel from the “legal department,”
           the manager of the bankruptcy group at “Ocwen Loan Servicing, LLC,”
           and Robert Kaltenbach, identified as the management representative of
           “Ocwen Loan Servicing, LLC,” having participated in hearings and
           directly being communicated the concerns of the court and clear
           shortcoming of the entity identified as “Ocwen Loan Servicing, LLC,”
           (including failing to respond to 2004 subpoenas, failing to respond to
           motions to compel, failure to respond to objections to notice of
           mortgage payment change, and lumping together the business activities
           of Ocwen Financial Corporation, Ocwen Mortgage Servicing, Inc., and
           Ocwen Loan Servicing, LLC), there is little reason or excuse for such
           failures, imprecise identification of parties, and improperly
           presenting evidence to the court by the “Ocwen Entities” and their
           counsel.

                   Counsel for the “Ocwen Entities” has several times now assured
           the court that his client(s) understand the concern and requirements
           of federal law and judicial rules. The court anticipates seeing such
           corrected conduct given these parties and their counsel being clearly
           aware of the significant consequences (corrective or punitive) if the
           improper conduct continues.

                   The court discharges the Order to Appear and Show Cause. The
           court also recognizes that in appearing to address these issues, the
           persons involved have been required to spend time and Ocwen Financial
           Corporation has incurred expenses. No monetary corrective sanctions
           are ordered at this time. It appears that with the communication of
           the court’s concerns and interaction at the hearings, Ocwen Financial
           Corporation, Ocwen Loan Servicing, LLC (to the extent it exists as a
           separate, functioning entity engaging in business activities),
           employees of Ocwen Financial Corporation, and outside counsel are
           working to remedy the issues.
